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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        8:20-BK-03609 CPM                                                   Trustee: (290520)           DAWN A. CARAPELLA
Case Name:          CFRA, LLC                                                           Filed (f) or Converted (c): 08/07/20 (c)
                                                                                        §341(a) Meeting Date:       09/10/20
Period Ending:      03/31/22                                                            Claims Bar Date:            07/15/20

                               1                                     2                         3                          4                  5                    6

                       Asset Description                          Petition/            Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)            Unscheduled       (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                   Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                   and Other Costs)                                                Remaining Assets

 1       Wells Fargo Checking 4199                                  62,195.75                      62,195.75                                86,021.22                    FA
          6/3/2020 - Schedules (Filed in lead case of CFRA
         Holdings, LLC [Dkt. 110]

 2       Wells Fargo Checking 4215                                         0.00                         0.00                                     8.27                    FA
          6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110]

 3       Wells Fargo Checking 7976                                         0.00                         0.00                                     0.00                    FA
          6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110]

 4       Wells Fargo Checking 7984                                   1,706.91                       1,706.91                                     0.00                    FA
          6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110])

 5       Deposit - Town of Christiansburg                                550.00                      550.00                                      0.00                    FA
          6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110])

 6       Deposit - Smyrna Utilities                                      939.00                      939.00                                      0.00                    FA
          6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110])

 7       Deposit - Town of Mooresville                                    50.00                       50.00                                      0.00                    FA
          6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110])

 8       Deposit - Middle Tennessee Electric                         4,300.00                       4,300.00                                 1,497.99                    FA
          6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110])

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                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         8:20-BK-03609 CPM                                                   Trustee: (290520)           DAWN A. CARAPELLA
Case Name:           CFRA, LLC                                                           Filed (f) or Converted (c): 08/07/20 (c)
                                                                                         §341(a) Meeting Date:       09/10/20
Period Ending:       03/31/22                                                            Claims Bar Date:            07/15/20

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                       Asset Description                           Petition/            Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)             Unscheduled       (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                    and Other Costs)                                                Remaining Assets

 9       Deposit - Town of Boone                                          225.00                      225.00                                      0.00                    FA
           6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110])
         10/12/2020 - Tele. conf. w/ Customer Service; account
         terminated; no deposit to refund (deposit refunded in
         2015)

10       Deposit - Middle Tennessee Electric                          2,500.00                       2,500.00                                 1,318.03                    FA

11       Deposit - Frontier National Gas                                    0.00                         0.00                                     0.00                    FA
          6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110])

12       Deposit - CDE Lightband                                      2,500.00                       2,500.00                                     0.00                    FA
          6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110])

13       Deposit - Clarksville Gas & Water                                900.00                      900.00                                      0.00                    FA
          6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110])

14       Deposit - CDE Lightband (parking lot lights)                     528.00                      528.00                                      0.00                    FA
          6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110])

15       Deposit - Progress Energy                                    5,614.00                       5,614.00                                 1,471.91                    FA
          6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110])

16       Prepayments - Prepaid Business Licenses                     15,565.00                      15,565.00                                 2,339.87                    FA
           6/3/2020 - Schedules (filed in lead case of CFRA

                                                                                                                                         Printed: 04/22/2022 03:33 PM   V.20.40
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                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         8:20-BK-03609 CPM                                                 Trustee: (290520)           DAWN A. CARAPELLA
Case Name:           CFRA, LLC                                                         Filed (f) or Converted (c): 08/07/20 (c)
                                                                                       §341(a) Meeting Date:       09/10/20
Period Ending:       03/31/22                                                          Claims Bar Date:            07/15/20

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                       Asset Description                           Petition/          Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)             Unscheduled     (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                  and Other Costs)                                                Remaining Assets

         Holdings, LLC [Dkt. 110])

17       Prepayments - Advances at IHOP                            125,000.00                  125,000.00                                       0.00                    FA
           6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110])

18       Prepayments - Prepaid Insurance                             77,539.00                    77,539.00                                     0.00                    FA
           6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110])

19       Prepayments - Prepaid Advertising                         603,030.00                  603,030.00                                       0.00                    FA
           6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110])

20       Prepayments - Prepaid Micros Contracts                       4,206.00                     4,206.00                                     0.00                    FA
           6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110])

21       Prepayments - Prepaid Sales Taxes                         133,000.00                  133,000.00                                       0.00                    FA
           6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110])

22       Accounts Receivable - 90 days old or less                 387,473.00                  387,473.00                                       0.00                    FA
          6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110])

23       Office Furniture - see fixed asset report                   Unknown                           0.00                                     0.00                    FA
          6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110])

24       Office Equipment - see fixed assets report                  Unknown                           0.00                                     0.00                    FA
          6/3/2020 - Schedules (filed in lead case of CFRA

                                                                                                                                       Printed: 04/22/2022 03:33 PM   V.20.40
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                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         8:20-BK-03609 CPM                                                 Trustee: (290520)           DAWN A. CARAPELLA
Case Name:           CFRA, LLC                                                         Filed (f) or Converted (c): 08/07/20 (c)
                                                                                       §341(a) Meeting Date:       09/10/20
Period Ending:       03/31/22                                                          Claims Bar Date:            07/15/20

                                1                                     2                       3                          4                  5                    6

                       Asset Description                           Petition/          Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)             Unscheduled     (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                  and Other Costs)                                                Remaining Assets

         Holdings, LLC [Dkt. 110])

25       Restaurant Equipment - see fixed assets report              Unknown                           0.00                                      0.00                   FA
          6/3/2020 - Schedules (listed in lead case of CFRA
         Holdings, LLC [Dkt. 110])

26       Leased and subleased restaurant locations                   Unknown                           0.00                                      0.00                   FA
           6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110])

27       Goodwill                                                    Unknown                           0.00                                      0.00                   FA
          6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110])

28       Other Property of Any Kind Not Already Listed               Unknown                           0.00                                      0.00                   FA
           6/3/2020 - Schedules (filed in lead case of CFRA
         Holdings, LLC [Dkt. 110])
         Construction Costs $151,560 net book value;
         Leasehold improvements $4,563,583 net book value;
         remodel $3,377,445 net book value
         Construction in Process $633,207 net book value

29       Potential Avoidable Transfers (u)                           Unknown                           1.00                                      0.00                   FA

30       Randolph Electric Refund                                    Unknown                       5,587.66                                 5,622.41                    FA

31       Lenders' CarveOut for Unsecured Cr (see Dkt 163)                 0.00                 125,000.00                                 125,000.00                    FA

32       Lender Carveout for Trustee admin costs (Dkt 163                 0.00                    25,000.00                                25,000.00                    FA
33       Pancake Supply Chain Coop, Inc. (u)                         Unknown                      10,000.00                                61,015.14                    FA

34       Valley Proteins, Inc. Refund (u)                            Unknown                         30.75                                      30.75                   FA

                                                                                                                                       Printed: 04/22/2022 03:33 PM   V.20.40
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                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         8:20-BK-03609 CPM                                                        Trustee: (290520)           DAWN A. CARAPELLA
Case Name:           CFRA, LLC                                                                Filed (f) or Converted (c): 08/07/20 (c)
                                                                                              §341(a) Meeting Date:       09/10/20
Period Ending:       03/31/22                                                                 Claims Bar Date:            07/15/20

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                       Asset Description                                Petition/            Estimated Net Value             Property          Sale/Funds           Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled       (Value Determined By Trustee,       Abandoned          Received by       Administered (FA)/
                                                                         Values            Less Liens, Exemptions,      OA=§554(a) abandon.     the Estate        Gross Value of
Ref. #                                                                                         and Other Costs)                                                  Remaining Assets

35       Rowan County refund (u)                                           Unknown                          11.18                                       11.18                     FA

36       Synovus DIP Account 4253 (u)                                           0.00                   135,838.83                                  49,817.61                      FA

37       Centralized Supply Chain refund (u)                                    0.00                        61.82                                       61.82                     FA

38       Retail Technology Group refund (u)                                     0.00                        52.65                                       52.65                     FA

39       Preference claim ag. Performance Foods (u)                        Unknown                     100,000.00                                  10,000.00                      FA

40       Partial Refund of Retainer from Holland & Knight (u)              Unknown                       6,484.20                                    6,484.20                     FA

40       Assets          Totals (Excluding unknown values)            $1,427,821.66                $1,835,889.75                                 $375,753.05                   $0.00


     Major Activities Affecting Case Closing:
              Case administratively consolidated with lead case CFRA Holdings, LLC, Case No. 20-3608
              See lead case CFRA Holdings, LLC, Case No. 20-3608 for notes;
              9/10/2020 - 341 mtg. held and continued to 9/24/2020 @ 3:15 p.m.;
              9/21/2020 -Order approving First Supplement to Final Fee Application of Saul Ewing (Dkt. 278);
              9/24/2020 - 341 mtg. held and concluded;
              9/25/2020 - T deposited refund from Duke Progress Energy;
              9/28/2020 - T received distribution from Pancake Supply Chain Coop, Inc. for 2019 Patronage #1; email to Dustin Pittman of CSCS re: same;
              10/2/2020 - Email from Pancake Supply Chain Co-op's patronage program - CFRA is no longer a member of the Co-op as of April 17, 2020; no additional distributions
              to be made to Debtor;
              10/5/2020 - T deposited check for DIP acct. bank balance;
              10/12/2020 - T deposited refund of deposit with Middle Tennessee Electric;
              10/31/2020 - 3rd quarter 2020 tax returns mailed to Fla. DOR, TN Dept. of Labor;
              10/31/2020 - 941's for 3rd quarter 2020 mailed to IRS;
              11/3/2020 - Check issued to Ds' counsel pursuant to Order approving First Supplement to Final Fee Application (See Dkt. 278);


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                                                    Individual Estate Property Record and Report
                                                                     Asset Cases
Case Number:     8:20-BK-03609 CPM                                                         Trustee: (290520)           DAWN A. CARAPELLA
Case Name:       CFRA, LLC                                                                 Filed (f) or Converted (c): 08/07/20 (c)
                                                                                           §341(a) Meeting Date:       09/10/20
Period Ending:   03/31/22                                                                  Claims Bar Date:            07/15/20

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                    Asset Description                                Petition/            Estimated Net Value             Property           Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled       (Value Determined By Trustee,       Abandoned           Received by      Administered (FA)/
                                                                      Values            Less Liens, Exemptions,      OA=§554(a) abandon.      the Estate       Gross Value of
Ref. #                                                                                      and Other Costs)                                                  Remaining Assets

          11/10/2020 - T received DIP account bank balance;
          11/10/2020 - T received business license refund for store no. 597;
          11/13/2020 - Order granting Motion to Incur Expenses to Prepare W-2 Forms for Former Employees (Dkt. 324 in 20-3608);
          11/13/2020 - Agreed Order approving Application for Payment of Administrative Rent of Triton III, Inc. against estate of CFRA, LLC (Dkt. 325 in 20-3608);
          11/13/2020 - Agreed Order approving Application for Payment of Administrative Rent for Stanhope 2013, LLC against estate of CFRA, LLC (Dkt. 326 in 20-3608)
          11/13/2020 - Agreed Order approving, in part, Piedmont Natural Gas' Application for Payment of Administrative Claim against estate of CFRA, LLC (Dkt. 327 in
          20-3608);
          11/13/2020 - Agreed Order approvin Duke Energy's Application for Payment of Administrative Claim against estate of CFRA, LLC (Dkt. 328 in 20-3608);
          11/13/2020 - Agreed Order approving, in part, Ecolab Inc.'s Application for Payment of Administrative Claim against estate of CFRA, LLC (Dkt. 329 in 20-3608);
          12/10/2020 - Amended and Agreed Order granting in part, Second Supplement to Final Fee Application of Saul Ewing (Dkt. 344);
          12/26/2020 - T paid Saul Ewing pursuant to Amended and Agreed Order;
          12/29/2020 - T received rebate from Pancake Supply Chain Coop;
          1/5/2021 - Email from Jon Shepherd - W-2's prepared and mailed for employees; invoice included;
          1/18/2021 - Letter to North Carolina Dept of Commerce responding to inquiries re: employees.
          1/5/2021 - T informed that W-2 Forms issued and mailed to former employees;
          1/18/2021 - T paid Southeast QSR, LLC for preparation of W-2 Forms;
          2/2/2021 - T deposited checks from Centralized Supply Chain Services and Retail Technology Group, Inc.;
          2/17/2021 - Tele. conf. w/ counsel and Jon Shepherd re: information re: potential preference;
          3/31/2021 - Email to banking re: $114.47 still remaining in Mechanic's Bank Account; last deposit cleared on date of transition to People's Bank;
          4/12/2020 - Preference demand letter sent to Performance Food Group, Inc.;
          4/26/2021 - No response received to preference demand letter;
          5/7/2021 - ADV. PRO. 21-145 , Trusteev. Performance Food Group;
          5/14/2021 - Extension through 7/16/2021 given to counsel for Performance Food Group to answer complaint;
          5/20/2021 - Letter to NC Dept of Commerce re: employee information requests;
          7/5/2021 - Email from counsel for Performance Foods; working on providing requested documents; Further extension given counsel until 8/13/2021;
          ADV. Pro. 210145 - Notice of Pre-Trial Conf - scheduled for 10/25/2021 @ 10;00 a.m. (Adv. Dkt. 6);
          9/2/2021 - Email from counsel confirming that counter offer to Performance Foods emailed;

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                                                    Individual Estate Property Record and Report
                                                                     Asset Cases
Case Number:     8:20-BK-03609 CPM                                                          Trustee: (290520)           DAWN A. CARAPELLA
Case Name:       CFRA, LLC                                                                  Filed (f) or Converted (c): 08/07/20 (c)
                                                                                            §341(a) Meeting Date:       09/10/20
Period Ending:   03/31/22                                                                   Claims Bar Date:            07/15/20

                            1                                            2                         3                          4                     5                    6

                    Asset Description                                Petition/             Estimated Net Value             Property           Sale/Funds           Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled        (Value Determined By Trustee,       Abandoned           Received by       Administered (FA)/
                                                                      Values             Less Liens, Exemptions,      OA=§554(a) abandon.      the Estate        Gross Value of
Ref. #                                                                                       and Other Costs)                                                   Remaining Assets

          9/10/2021 - mail forwarding reinstated;
          9/20/2021 - Tele. conf. with Pancake Supply Chain confirming rebate as property of estate;
          9/24/2021 - T deposited rebate from Pancake Supply Chain Coop;
          9/27/2021 - Email to counsel re draft settlement agreement and motion to compromise with Performance Foods;
          10/18/2021 - T received check from Wells Fargo as refund for incorrect check charges;
          10/18/2021 - T received partial refund of retainer from Holland & Knight pursuant to 12/29/2020 Order granting Stay Relief to Holland & Knight, LLP (Dkt. 347) -
          Holland & Knight may exercise setoff of $18,515.80 against $25,000 retainer and tender remaining balance of $6,484.20 to Trustee; T confirmed that source of retainer
          was from CFRA, LLC;
          12/2/2021 - Order granting Motion to Compromise with Performance Foods (See CFRA Holdings [ lead case] Dkt. 357);
          12/13/2021 - Fire Permit for store located at 16015 Lancaster Hwy, Charlotte, NC forwarded to SunCakes;
          12/14/2021 - T received settlement proceeds from compromise with Performance Food Group;
          12/21/2021 - T received check from Pancake Supply Chain Coop, Inc.;
          2/7/2022 - Email to Al Gomez, counsel for Casual Dining Smyrna, LLC re: Claim No. 12;
          2/7/2022 - Email to Camille Iurillo, counsel for Smartvision re: Claims;
          2/7/2022 - Email to Claimant 3 and 4 requesting that duplicate Claim No. 4 be withdrawn;
          2/7/2022 - Email to Claimant 16 Aramark Uniforms re: amending Claim No. 16 - no basis for admin claim for $5k;
          2/9/2022 - Email to Claimant 17 Ballantyne re: Claim 17;
          2/9/2022 - Email to Claimant 22 Promenade re: Claim 22;
          2/9/2022 - CLAIMS REVIEWED; T reviewing Claim Nos. 4, 6, 7, 10, 12, 13, 15, 16P-2, 17, 18, 19 and 22;
          2/14/2022 - Withdrawal of Claim No. 17 of Ballantyne Property Group, LLC (CFRA, LLC Dkt. 29);
          2/14/2022 - Withdrawal of Claim No. 4 of Rosnet Technology (CFRA, LLC Dkt. 30);
          2/25/2022 - Email from Claimant 16 Aramark re: invoices;
          3/1/2022 - Tele. conf. with counsel for Casual Dining and Rbt. Wahl re: Casual Dining's claim no. 12;
          3/18/2022- Email to Claimant 16 Aramark re: amending claim and status of payment from Suncakes;
          3/18/2022 - Suggestion of Bankruptcy mailed to the Clerk of the Chancery Court, for Davidson County, TN in Tax Civil Action No. 21-0914-III as a result of receiving a
          Motion for Default Judgment;
          3/23/2022 - Order (A) Sustaining Omnibus Objection to Certain Claims Filed Against the Estate of CFRA Holdings, LLC; and (B) Granting Motion to Allow Claims

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                                                      Individual Estate Property Record and Report
                                                                       Asset Cases
Case Number:       8:20-BK-03609 CPM                                                         Trustee: (290520)           DAWN A. CARAPELLA
Case Name:         CFRA, LLC                                                                 Filed (f) or Converted (c): 08/07/20 (c)
                                                                                             §341(a) Meeting Date:       09/10/20
Period Ending:     03/31/22                                                                  Claims Bar Date:            07/15/20

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                      Asset Description                                 Petition/           Estimated Net Value             Property           Sale/Funds          Asset Fully
           (Scheduled And Unscheduled (u) Property)                   Unscheduled      (Value Determined By Trustee,       Abandoned           Received by      Administered (FA)/
                                                                         Values           Less Liens, Exemptions,      OA=§554(a) abandon.      the Estate       Gross Value of
Ref. #                                                                                        and Other Costs)                                                  Remaining Assets

            Against the Estates of CFRA, LLC or CFRA, Tri-Cities, LLC (CFRA Holdings, LLC Dkt. 388);
            4/1/2022 - Order sustaining Objection to Hilton Displays, LLC's claims and allowing Claim No. 20 filed against estate of CFRA, LLC as a general unsecured claim in
            the amount of $115,500.96 (CFRA Holdings, LLC's Docket No. 393);
            4/5/2022 - Objection to Claim No. 22 of Promenade Shopping Center, LLC against estate of CFRA, LLC (Dkt. 409);
            4/5/2022 - Objection to Claim No. 59 of Carole Nemeth that is disallowed against estate of CFRA Holdings, LLC and allowed against estate of CFRA, LLC (Dkt. 410);




    Initial Projected Date Of Final Report (TFR): February 28, 2021                      Current Projected Date Of Final Report (TFR): June 30, 2022




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                                                           Cash Receipts And Disbursements Record
Case Number:         8:20-BK-03609 CPM                                                                 Trustee:         DAWN A. CARAPELLA (290520)
Case Name:           CFRA, LLC                                                                         Bank Name:       Metropolitan Commercial Bank
                                                                                                       Account:         ******7429 - Checking Account
Taxpayer ID #:       **-***3478                                                                        Blanket Bond:    $35,756,000.00 (per case limit)
Period Ending:       03/31/22                                                                          Separate Bond:   N/A

   1           2                           3                                       4                                          5                     6                     7
 Trans.     {Ref #} /                                                                                                      Receipts          Disbursements            Checking
  Date      Check #            Paid To / Received From                Description of Transaction             T-Code           $                    $               Account Balance
10/13/21                  Transition Transfer Credit         Transition Transfer Credit                      9999-000        288,260.57                                  288,260.57
10/18/21       {2}        Wells Fargo Customer Service       Refund for incorrect charges for checks         1129-000                 8.27                               288,268.84
10/18/21      {40}        Holland & Knight, LLP              partial refund from Holland & Knight pursuant   1290-000             6,484.20                               294,753.04
                                                             to Order (Dkt. 347)
10/29/21                  Metropolitan Commercial Bank       Bank and Technology Services Fee                2600-000                                    449.72          294,303.32
11/30/21                  Metropolitan Commercial Bank       Bank and Technology Services Fee                2600-000                                    503.13          293,800.19
12/14/21      {39}        Performance Food Group             settlement funds (12/2/2021 Order approving     1241-000         10,000.00                                  303,800.19
                                                             Compromise (CFRA Holdings [lead case] Dkt.
                                                             357)
12/21/21      {33}        Pancake Supply Chain Coop, Inc     2019 patronage dividend                         1223-000         30,257.54                                  334,057.73
12/31/21                  Metropolitan Commercial Bank       Bank and Technology Services Fee                2600-000                                    507.52          333,550.21
01/31/22                  Metropolitan Commercial Bank       Bank and Technology Services Fee                2600-000                                    516.77          333,033.44
02/28/22                  Metropolitan Commercial Bank       Bank and Technology Services Fee                2600-000                                    498.23          332,535.21
03/31/22                  Metropolitan Commercial Bank       Bank and Technology Services Fee                2600-000                                    586.31          331,948.90
                                                                              ACCOUNT TOTALS                                 335,010.58                 3,061.68        $331,948.90
                                                                                  Less: Bank Transfers                       288,260.57                     0.00
                                                                              Subtotal                                         46,750.01                3,061.68
                                                                                  Less: Payments to Debtors                                                 0.00
                                                                              NET Receipts / Disbursements                   $46,750.01             $3,061.68




  {} Asset reference(s)                                                                                                                        Printed: 04/22/2022 03:33 PM    V.20.40
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                                                              Cash Receipts And Disbursements Record
Case Number:         8:20-BK-03609 CPM                                                                  Trustee:            DAWN A. CARAPELLA (290520)
Case Name:           CFRA, LLC                                                                          Bank Name:          Mechanics Bank
                                                                                                        Account:            ******1966 - Checking Account
Taxpayer ID #:       **-***3478                                                                         Blanket Bond:       $35,756,000.00 (per case limit)
Period Ending:       03/31/22                                                                           Separate Bond:      N/A

   1           2                           3                                          4                                           5                     6                     7
 Trans.     {Ref #} /                                                                                                          Receipts          Disbursements            Checking
  Date      Check #             Paid To / Received From                  Description of Transaction              T-Code           $                    $               Account Balance
09/21/20      {30}        Randolph Electric Membership          Refund from payor                                1129-000             5,587.66                                    5,587.66
                          Corp.
09/21/20      {31}        CFRA, LLC                             Unsecured Creditors Carve-Out - See              1129-000        125,000.00                                  130,587.66
                                                                6/22/2020 Final Consent Order (I) Authorizing
                                                                Debtors to Use Cash Collateral; (II)
                                                                Acknowledging Extent, Validity and Priority of
                                                                Liens; and (III Scheduling Further Hearing
                                                                (Dkt. 163) - Lenders carved out $125,000 fro
09/21/20      {32}        CFRA LLC                              Lenders' Carve-out for Trustee administrative    1129-000         25,000.00                                  155,587.66
                                                                costs (Order Dkt. 163, p. 20)
09/25/20      {15}        Duke Energy Progress                  Duke Energy Progress utility refund              1129-000             1,471.91                               157,059.57
09/28/20      {33}        Pancake Supply Chain Coop, Inc.       Dividend from Patronage Account                  1223-000             7,564.38                               164,623.95
09/30/20                  Mechanics Bank                        Bank and Technology Services Fee                 2600-000                                     58.10          164,565.85
10/05/20       {1}        CFRA LLC                              turnover of bank acct. balance                   1129-000         86,021.22                                  250,587.07
10/12/20       {8}        Middle Tennessee Electric             refund from Middle Tennessee Electric            1129-000             1,497.99                               252,085.06
10/12/20      {10}        Middle Tennessee Electric             Refund from Middle Tennessee Electric            1129-000             1,318.03                               253,403.09
10/30/20                  Mechanics Bank                        Bank and Technology Services Fee                 2600-000                                    370.44          253,032.65
11/01/20      {34}        Valley Proteins, Inc.                 Refund from "raw material account" for CFRA, 1290-000                   30.75                                253,063.40
                                                                LLC store "Carolina Family Restaurants"
11/01/20      {35}        Rowan County                          Refund re: 105 Faith Road store                  1290-000               11.18                                253,074.58
11/02/20      101         Saul Ewing Arnstein & Lehr, LLP       9/21/2020 - Order Approving First                3701-000                               24,144.30            228,930.28
                                                                Supplemental Fee App (Dkt. Nos. 278, 297)
11/10/20      {36}        CFRA, LLC                             Turnover of DIP account balance                  1229-000         49,817.61                                  278,747.89
11/10/20      {16}        C. William Orndoff,Jr., Treasurer     Refund for business license (Store No. 597)      1129-000             2,339.87                               281,087.76
                          Frederick County
11/30/20                  Mechanics Bank                        Bank and Technology Services Fee                 2600-000                                    416.17          280,671.59
12/26/20      102         Saul Ewing Arnstein & Lehr, LLP       12/10/2020 - Amended/ Agreed Order               3701-000                                   5,563.96         275,107.63


                                                                                                           Subtotals :          $305,660.60            $30,552.97
  {} Asset reference(s)                                                                                                                            Printed: 04/22/2022 03:33 PM     V.20.40
                                               Case 8:20-bk-03609-CPM            Doc 32       Filed 04/22/22      Page 11 of 13

                                                                                  Form 2                                                                                   Page: 3
                                                          Cash Receipts And Disbursements Record
Case Number:         8:20-BK-03609 CPM                                                                Trustee:          DAWN A. CARAPELLA (290520)
Case Name:           CFRA, LLC                                                                        Bank Name:        Mechanics Bank
                                                                                                      Account:          ******1966 - Checking Account
Taxpayer ID #:       **-***3478                                                                       Blanket Bond:     $35,756,000.00 (per case limit)
Period Ending:       03/31/22                                                                         Separate Bond:    N/A

   1           2                           3                                        4                                         5                  6                     7
 Trans.     {Ref #} /                                                                                                      Receipts       Disbursements            Checking
  Date      Check #            Paid To / Received From                 Description of Transaction            T-Code           $                 $               Account Balance
                                                              approving in part, 2nd Supp. Fee App (Dkt
                                                              344)
12/29/20      {33}        Pancake Supply Chain Coop, Inc.     Rebate from Pancake Supply Chain for 2019 - 1223-000            11,277.29                               286,384.92
                                                              2020
12/31/20                  Mechanics Bank                      Bank and Technology Services Fee               2600-000                                 494.12          285,890.80
01/18/21      103         Southeast QSR, LLC                  11/13/2020 - Order granting Motion to Incur    3992-000                                5,614.11         280,276.69
                                                              Expenses to Prepare W-2 Forms for Former
                                                              Employees (Dkt. 324)
01/29/21                  Mechanics Bank                      Bank and Technology Services Fee               2600-000                                 442.89          279,833.80
02/02/21      {38}        Retail Technology Group, Inc.       Refund Overpayment - Invoice 650407            1229-000             52.65                               279,886.45
02/02/21      {37}        Centralized Supply Chain Services   rebate                                         1229-000             61.82                               279,948.27
02/04/21                  Transition Transfer Debit           Transition Transfer Debit                      9999-000                           279,833.80                  114.47
03/31/21                  Transition Transfer Debit           Transition Transfer Debit to People's United   9999-000                                 114.47                  0.00
                                                              Bank account 4285
                                                                               ACCOUNT TOTALS                                317,052.36         317,052.36                   $0.00
                                                                                   Less: Bank Transfers                            0.00         279,948.27
                                                                               Subtotal                                      317,052.36          37,104.09
                                                                                   Less: Payments to Debtors                                             0.00
                                                                               NET Receipts / Disbursements                 $317,052.36         $37,104.09




  {} Asset reference(s)                                                                                                                     Printed: 04/22/2022 03:33 PM    V.20.40
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                                                                               Form 2                                                                                   Page: 4
                                                         Cash Receipts And Disbursements Record
Case Number:         8:20-BK-03609 CPM                                                             Trustee:         DAWN A. CARAPELLA (290520)
Case Name:           CFRA, LLC                                                                     Bank Name:       People's United Bank
                                                                                                   Account:         ******4285 - Checking Account
Taxpayer ID #:       **-***3478                                                                    Blanket Bond:    $35,756,000.00 (per case limit)
Period Ending:       03/31/22                                                                      Separate Bond:   N/A

   1           2                           3                                     4                                        5                   6                     7
 Trans.     {Ref #} /                                                                                                  Receipts        Disbursements            Checking
  Date      Check #            Paid To / Received From              Description of Transaction           T-Code           $                  $               Account Balance
02/04/21                  TRANSFER FROM DEPOSIT             TRANSFER FROM DEPOSIT SYSTEM                9999-000         279,833.80                                279,833.80
                          SYSTEM ACCOUNT ******2572         ACCOUNT ******2572
02/26/21                  People's United Bank              Bank and Technology Services Fee            2600-000                                   426.53          279,407.27
03/31/21                  Transition Transfer Credit        Transition Transfer Credit from Mechanics   9999-000              114.47                               279,521.74
                                                            Bank account 1966
03/31/21                  People's United Bank              Bank and Technology Services Fee            2600-000                                   492.79          279,028.95
04/24/21      {30}        Randolph Electric                 Refund from Randolph Electric from period   1129-000               34.75                               279,063.70
                                                            1995 and 2020
04/30/21                  People's United Bank              Bank and Technology Services Fee            2600-000                                   447.21          278,616.49
05/28/21                  People's United Bank              Bank and Technology Services Fee            2600-000                                   416.77          278,199.72
06/30/21                  People's United Bank              Bank and Technology Services Fee            2600-000                                   490.46          277,709.26
07/30/21                  People's United Bank              Bank and Technology Services Fee            2600-000                                   445.09          277,264.17
08/31/21                  People's United Bank              Bank and Technology Services Fee            2600-000                                   474.00          276,790.17
09/24/21      {33}        Pancake Supply Chain Coop, Inc.   Rebate from Pancake Supply Chain            1223-000          11,915.93                                288,706.10
09/30/21                  People's United Bank              Bank and Technology Services Fee            2600-000                                   445.53          288,260.57
10/13/21                  TRANSFER TO DEPOSIT SYSTEM        TRANSFER TO DEPOSIT SYSTEM                  9999-000                             288,260.57                    0.00
                          ACCOUNT ******2708                ACCOUNT ******2708
                                                                            ACCOUNT TOTALS                               291,898.95          291,898.95                   $0.00
                                                                                Less: Bank Transfers                     279,948.27          288,260.57
                                                                            Subtotal                                       11,950.68              3,638.38
                                                                                Less: Payments to Debtors                                             0.00
                                                                            NET Receipts / Disbursements                 $11,950.68           $3,638.38




  {} Asset reference(s)                                                                                                                  Printed: 04/22/2022 03:33 PM    V.20.40
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                                                                         Form 2                                                                                   Page: 5
                                                     Cash Receipts And Disbursements Record
Case Number:       8:20-BK-03609 CPM                                                          Trustee:         DAWN A. CARAPELLA (290520)
Case Name:         CFRA, LLC                                                                  Bank Name:       People's United Bank
                                                                                              Account:         ******4285 - Checking Account
Taxpayer ID #:     **-***3478                                                                 Blanket Bond:    $35,756,000.00 (per case limit)
Period Ending:     03/31/22                                                                   Separate Bond:   N/A

  1           2                        3                                  4                                          5                  6                     7
Trans.     {Ref #} /                                                                                              Receipts       Disbursements          Checking
 Date      Check #         Paid To / Received From             Description of Transaction           T-Code           $                 $             Account Balance

                            Net Receipts :        375,753.05
                                               ————————                                                               Net             Net                   Account
                                Net Estate :     $375,753.05          TOTAL - ALL ACCOUNTS                          Receipts     Disbursements              Balances
                                                                      Checking # ******7429                          46,750.01           3,061.68            331,948.90
                                                                      Checking # ******1966                         317,052.36          37,104.09                  0.00
                                                                      Checking # ******4285                          11,950.68           3,638.38                  0.00

                                                                                                                   $375,753.05         $43,804.15          $331,948.90




 {} Asset reference(s)                                                                                                             Printed: 04/22/2022 03:33 PM    V.20.40
